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                             UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS
                                   EASTERN DIVISION

__________________________________
                                  )
KHADIJAH TRIBBLE,                 )
                                  )
            Plaintiff,            )
                                  )
v.                                )
                                  )
CURALEAF HOLDINGS, INC.,          )                   C.A. No. 1:24-cv-12760-IT
MATTHEW DARIN                     )
                                  )
            Defendants.           )
_________________________________ )

       STIPULATION OF DISMISSAL OF COUNTS IV, VI, VII, X, AND XI AS TO
                   DEFENDANT MATTHEW DARIN ONLY

       Plaintiff Khadijah Tribble (“Ms. Tribble” or the “Plaintiff”) and Defendants Curaleaf

Holdings, Inc. (“Curaleaf” or the “Company”) and Matthew Darin (“Mr. Darin”) (collectively,

the “Defendants” and with Ms. Tribble, collectively the “Parties”) jointly stipulate pursuant to

Fed. R. Civ. P. 41(a)(1)(A)(ii) to the voluntary dismissal of the following counts of Ms. Tribble’s

Amended Complaint:

       1.       Count IV, but ONLY as to Mr. Darin for alleged retaliation in violation of G.L. c.

151B, § 4(4);

       2.       Count VI, vs. Mr. Darin for alleged aiding and abetting in violation of G.L. c.

151B, § 4(5);

       3.       Count VII, vs. Mr. Darin for alleged interference with rights in violation of G.L. c.

151B, § 4(4A);

       4.       Count X, but ONLY as to Mr. Darin for alleged non-payment of wages in

violation of the Massachusetts Wage Act, G.L. c. 149, § 148; and
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       5.     Count XI, but ONLY as to Mr. Darin for alleged retaliation in violation of the

Earn Sick Time Law, G.L. c. 149, § 148C.


Respectfully submitted,

Plaintiff,                                         Defendant,
KHADIJAH TRIBBLE,                                  CURALEAF HOLDINGS, INC.

By Her Attorneys,                                  By Its Attorneys,


/s/ Zachary H. Hammond_____                        /s/ Keerthi Sugumaran _____
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Date: March 13, 2025


                               CERTIFICATE OF SERVICE

        I, Zachary H. Hammond, hereby certify that on this 13th day of March 2025 the within
document filed through the CM/ECF system will be sent electronically to the registered
participants as identified on the Notice of Electronic Filing.


/s/ Zachary H. Hammond




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